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                                                                             8   APARTMENT HOLDINGS, LLC; COURTYARD AT
                                                                                 CENTRAL PARK APARTMENTS, LLC; CREEKSIDE
                                                                             9   HOLDINGS, LTD; HERITAGE PARK APARTMENTS,
                                                                                 LP; PEPPERTREE APARTMENT HOLDINGS, LP;
                                                                            10   RIVER OAKS HOLDINGS, LLC; SHADOW WAY
                                                                                 APARTMENTS, LP; WASATCH ADVANTAGE GROUP,
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                                                                            11   LLC; WASATCH PREMIER PROPERTIES, LLC;
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                                                                                 WASATCH QUAIL RUN GP, LLC; WASATCH POOL
                                                                            12   HOLDINGS, LLC; WASATCH POOL HOLDINGS III,
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                                                                                                                UNITED STATES DISTRICT COURT
                                                                            14                                 EASTERN DISTRICT OF CALIFORNIA
                                                                            15                                      SACRAMENTO DIVISION

                                                                            16   UNITED STATES OF AMERICA, ex rel.                    Case No.: 2:15-CV-00799-KJM-DB
                                                                                 DENIKA TERRY, ROY HUSKEY III, and
                                                                            17   TAMERA LIVINGSTON, and each of them for              CLASS ACTION
                                                                                 themselves individually, and for all other persons
                                                                            18   similarly situated and on behalf of the UNITED       OWNER AND NON-OWNER
                                                                                 STATES OF AMERICA                                    DEFENDANTS’ OPPOSITION TO
                                                                            19                                                        RELATORS’ MOTION IN LIMINE NO. 2
                                                                                        Plaintiffs/Relators,                          TO DEEM DEFENDANTS’
                                                                            20                                                        UNEQUIVOCAL STATEMENTS AND
                                                                                 vs.                                                  ADMISSIONS JUDICIAL ADMISSIONS
                                                                            21
                                                                                 WASATCH ADVANTAGE GROUP, LLC,
                                                                            22   WASATCH PROPERTY MANAGEMENT,                         Date: July 12, 2024
                                                                                 INC., WASATCH POOL HOLDINGS, LLC,                    Time: 10:00 AM
                                                                            23   CHESAPEAKE APARTMENT HOLDINGS,                       Dept: Courtroom 3, 15th Floor
                                                                                 LLC, LOGAN PARK APARTMENTS, LLC,                     Before: Hon. Kimberly J. Mueller
                                                                            24   LOGAN PARK APARTMENTS, LP, ASPEN
                                                                                 PARK HOLDINGS, LLC, BELLWOOD                         Trial Date:   July 30, 2024
                                                                            25   JERRON HOLDINGS, LLC, BELLWOOD
                                                                                 JERRON APARTMENTS, LP, BENT TREE
                                                                            26   APARTMENTS, LLC, CALIFORNIA PLACE
                                                                                 APARTMENTS, LLC, CAMELOT LAKES
                                                                            27   HOLDINGS, LLC, CANYON CLUB
                                                                                 HOLDINGS, LLC, COURTYARD AT
                                                                            28   CENTRAL PARK APARTMENTS, LLC,
                                                                                 CREEKSIDE HOLDINGS, LTD, HAYWARD


                                                                                   4895-1632-2756.v10
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 2 of 8


                                                                             1   SENIOR APARTMENTS, LP, HERITAGE
                                                                                 PARK APARTMENTS, LP, OAK VALLEY
                                                                             2   APARTMENTS, LLC, OAK VALLEY
                                                                                 HOLDINGS, LP, PEPPERTREE APARTMENT
                                                                             3   HOLDINGS, LP, PIEDMONT APARTMENTS,
                                                                                 LP, POINT NATOMAS APARTMENTS, LLC,
                                                                             4   POINT NATOMAS APARTMENTS, LP,
                                                                                 RIVER OAKS HOLDINGS, LLC, SHADOW
                                                                             5   WAY APARTMENTS, LP, SPRING VILLA
                                                                                 APARTMENTS, LP, SUN VALLEY
                                                                             6   HOLDINGS, LTD, VILLAGE GROVE
                                                                                 APARTMENTS, LP, WASATCH QUAIL RUN
                                                                             7   GP, LLC, WASATCH PREMIER
                                                                                 PROPERTIES, LLC, WASATCH POOL
                                                                             8   HOLDINGS III, LLC,
                                                                                 and DOES 1-4,
                                                                             9
                                                                                      Defendants.
                                                                            10
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                                                                                           OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 3 of 8


                                                                             1   DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                             2            I.      Introduction
                                                                             3                 Relators’ Motion in Limine No. 2 asks the Court to treat nineteen statements as judicial
                                                                             4   admissions and to preclude Defendants from offering contrary evidence or argument. (ECF 415, the
                                                                             5   “Motion.”) Eighteen of these purported judicial admissions are not statements of any Defendant.
                                                                             6   Seventeen are paraphrases of Plaintiffs’ statements for purposes of their partial motion for summary
                                                                             7   judgment. (ECF 415 at 7-9, Ex. A ¶¶ 1-16, 18 citing ECF 258-1, 326-1.) And another is a paraphrase
                                                                             8   of the Court’s statement in its ruling on that motion. (ECF 415 at 9, Ex. A ¶ 17 citing ECF 278 at
                                                                             9   15-16.) Relators’ Motion seeks to put these words into Defendants’ mouth as “judicial admissions.”
                                                                            10   Though the summary judgment Defendants did no more than accept Plaintiffs’ statements as
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                                                                            11   “undisputed” for purposes of summary judgment, Relators mischaracterize that treatment as
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                                                                            12   Defendants “freely admit[ing]” those facts in “responses” that are “unqualified concessions” and
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                                                                            13   “factual admissions.” (ECF 415 at 1-2.) Those mischaracterizations do not remotely capture the
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                                                                            14   effect of merely failing to contest a movant’s fact for purposes of summary judgment. As for the
                                                                            15   nineteenth statement, Relator does not simply seek to hold Defendants to what they said. They seek
                                                                            16   to twist and reinterpret Defendants’ statements to prevent argument and evidence that are entirely
                                                                            17   consistent with the stated facts. For these reasons, Relators’ Motion should be denied.
                                                                            18
                                                                                     I.        Plaintiffs’ Statements of Material Facts Do Not Become Defendants’ Judicial
                                                                            19
                                                                                               Admissions Simply Because Defendants Did Not Contest Them for Purposes of
                                                                            20                 Summary Judgment.

                                                                            21                 Fed. R. Civ. P. 56 is clear that non-movants do not forever forfeit the right to contradict their

                                                                            22   opponents’ stated facts for purposes other than summary judgment merely by declining to contest

                                                                            23   those facts. Fed. R. Civ. P. Rule 56(e) provides that a failure to contest a movant’s Rule 56(c)

                                                                            24   statements of fact1 allows the court, inter alia, to “consider the fact undisputed for purposes of the

                                                                            25   motion.” Fed. R. Civ. P. 56(e)(2) (emphasis added); see DCR Marketing, Inc. v. U.S. Alliance
                                                                            26   Group, Inc., Case No. SACV 19-1897JVS(DFMx), 2022 WL 16895117, at *2-3 (C.D. Cal. Aug.

                                                                            27
                                                                                 1
                                                                            28    A non-movant’s response to a movant’s statement of facts under Rule 56(c) is not a “pleading,” as
                                                                                 Relators argue. Fed. R. Civ. P. 7.
                                                                                                                                         1
                                                                                                     OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 4 of 8


                                                                             1   18, 2022) (denying motion in limine to preclude party from refuting uncontested summary judgment
                                                                             2   facts at trial). “The fact is considered undisputed only for purposes of the motion; if summary
                                                                             3   judgment is denied, a party who failed to make a proper Rule 56 response or reply remains free to
                                                                             4   contest the fact in further proceedings.” Fed. R. Civ. P. 56, Advisory Committee Notes.
                                                                             5          Fed. R. Civ. P. Rule 56(g) allows courts to “treat[] [a] fact as established in the case,” but
                                                                             6   this provision “becomes relevant only after the court has applied the summary-judgment standard
                                                                             7   carried forward in subdivision (a) to each claim, defense, or part of a claim or defense, identified by
                                                                             8   the motion.” Fed. R. Civ. P. 56(g), Advisory Committee Notes. Critically, Relators did not seek
                                                                             9   summary judgment on their FCA claim, any element of that claim, or any defense to that claim.
                                                                            10   (The “SJ Order,” ECF 278 at 6, n.2, 17, n.4.) Nor did Relators invoke Rule 56(g) at summary
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                                                                            11   judgment or ask that any facts be deemed established for purposes of their FCA claim. (See
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                                                                            12   Plaintiffs’ Summary Judgment Motion, ECF 242, 242-1.).
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                                                                            13          It is too late to do so now. See DCR Marketing, 2022 WL 16895117, at *2 (“On summary
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                                                                            14   judgment, Blue Novis might have asked for specific findings under Rule 56(g), but it did not do
                                                                            15   so.”); see also Mims v. Fed. Express Corp., Case No.: CV 13-03947-AB (SSx), 2015 WL 12711651,
                                                                            16   at *3 (C.D. Cal. Jan. 15, 2015) (“[A] motion in limine is not a substitute for summary judgment and
                                                                            17   is not the appropriate venue to determine whether [the defendant] has sufficient evidence to succeed
                                                                            18   on its defense.”); and Enterpr. Mgmt. Ltd., Inc. v. Construx Software Builders, Inc., Case No. 2:19-
                                                                            19   CV-1458-DWC, 2021 WL 12256389 at *5 (W.D. Wash. Nov. 19, 2021) (where court determined
                                                                            20   on summary judgment there was a genuine issue of material fact to preclude summary judgment
                                                                            21   precluding argument and evidence on that subject would amount to “relitigat[ing] a motion for
                                                                            22   summary judgment during a motion in limine”; “this issue is better decided during the trial where
                                                                            23   [moving party] may object to argument . . . that, for instance, misstates the law”). Even if the Court
                                                                            24   were to treat Relators’ motion in limine as a belated Rule 56(g) motion, the mere failure to contest
                                                                            25   Plaintiffs’ statements for purposes of opposing a motion for partial summary judgment does not
                                                                            26   constitute a judicial admission.
                                                                            27
                                                                                        Indeed, there are a number of reasons a non-movant might not dispute a contested fact:
                                                                            28
                                                                                        A nonmovant, for example, may feel confident that a genuine dispute as to one or a
                                                                                                                                   2
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 5 of 8


                                                                                        few facts will defeat the motion, and prefer to avoid the cost of detailed response to
                                                                             1
                                                                                        all facts stated by the movant. This position should be available without running the
                                                                             2          risk that the fact will be taken as established under subdivision (g) or otherwise found
                                                                                        to have been accepted for other purposes.
                                                                             3

                                                                             4   Fed. R. Civ. P. 56(g), Advisory Committee Notes. “Even if the court believes that a fact is not

                                                                             5   genuinely in dispute it may refrain from ordering that the fact be treated as established. The court

                                                                             6   may conclude that it is better to leave open for trial facts and issues that may be better illuminated

                                                                             7   by the trial of related facts that must be tried in any event.” Fed. R. Civ. P. 56(g), Advisory

                                                                             8   Committee Notes; S.E.C. v. Retail Pro., Inc., 2011 WL 589828, at *3 (denying Rule 56(g) motion

                                                                             9   and granting motion in limine due to “significant risk of confusing the jury and unfairly prejudicing

                                                                            10   Defendant due to the differing legal standards at issue in the claims decided on summary judgment
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                                                                            11   and those which remain to be decided by the jury”). Relators’ briefing does not invoke Rule 56(g)
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                                                                            12   or supply a basis for applying it.
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                                                                            13          Relators’ briefing does not address or even mention Rule 56. Further, the cases on which
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                                                                            14   Relators rely do not support Relators’ misplaced contention that the Court should treat the mere

                                                                            15   decision not to dispute a summary judgment fact as a judicial admission precluding evidence on that

                                                                            16   fact for purposes of trial, particularly when the claims at trial are entirely distinct from the claims

                                                                            17   on which Plaintiffs sought summary judgment. See e.g., Am. Title Ins. Co. v. Lacelaw Corp., 861

                                                                            18   F.2d 224, 226 (9th Cir. 1988) (judicial admission may be based on trial brief); U.S. v. Bentson, 947

                                                                            19   F.2d 1353, 1356 (9th Cir. 1991) (concession in oral argument that defendant did not file tax returns

                                                                            20   precluded appellate argument that government failed to prove he did not file tax returns). Relators’

                                                                            21   reliance on In re Twitter is similarly misplaced, where In re Twitter involved a declaration submitted

                                                                            22   in support of a motion for summary judgment. See In re Twitter, Inc. Securities Litigation, No. 4:16-

                                                                            23   cv-05314-JST, 2020 WL 5904407 (N.D. Cal. Oct. 6, 2020) (finding judicial admissions based on

                                                                            24   statement from defendants’ answer and a declaration submitted in support of summary judgment).

                                                                            25   Critically, a declaration is an affirmative, sworn statement of fact offered by a person “under penalty

                                                                            26   of perjury.” 28 U.S.C. § 1746. A declaration, therefore, is a far cry from the passive failure to dispute

                                                                            27   someone else’s words, which the Twitter court noted:

                                                                            28          The Court will not treat Plaintiff’s second proposed fact as a judicial admission. The
                                                                                                                                   3
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 6 of 8


                                                                                        “statement” is not quoted verbatim from Defendants’ answer, but rather consists of
                                                                             1
                                                                                        phrases Plaintiffs cobbled together from different paragraphs in the answer. Plaintiffs
                                                                             2          cite no authority allowing them to rewrite Defendants’ language into a form more
                                                                                        pleasing to Plaintiffs and then present the product as Defendants’ own statement.
                                                                             3

                                                                             4   In re Twitter, 2020 WL 5904407 at *2. Similarly, here, the Plaintiffs’ statements of fact for purposes

                                                                             5   of their partial summary judgment motion constitute their summary of (some of) the evidence in “a

                                                                             6   form more pleasing to Plaintiffs.” Those words should not be presented at the Phase 1 trial “as

                                                                             7   Defendants’ own statement” merely because Defendants did not contest those facts for the limited

                                                                             8   purpose of summary judgment. Id. This is particularly true where, as discussed above, Rule 56 says

                                                                             9   those facts will be treated as undisputed only for purposes of summary judgment. Fed. R. Civ. P.

                                                                            10   56(e)(2). For these reasons the Court should deny Plaintiffs’ motion as to facts 1-18 of ECF 418,
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                                                                            11   Exhibit A.
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                                                                            12
                                                                                  II.   Relators’ Cannot Treat Defendants’ Statement that WPM “Signed” HAP Contracts
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                                                                            13          as Precluding Evidence and Argument that WPM Is Not a Party to the HAP
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                                                                                        Contracts.
                                                                            14

                                                                            15          Relators also seek to treat as a judicial admission a statement that “Wasatch Property

                                                                            16   Management [(“WPM”)] is the entity that signs all leases, Additional Services Agreements, and

                                                                            17   HAP Contracts, manages the properties where Defendants’ Section 8 tenants live, and charges and

                                                                            18   collects the additional service charges at issue in this case” based on stipulations entered by some

                                                                            19   Defendants. (See ECF 415 at 9, Ex. A ¶ 19 citing ECF 135 at 4; ECF 226 at 4). However, rather

                                                                            20   than hold Defendants to this statement, Relators seek to hold Defendants to a statement they never

                                                                            21   made and a conclusion that is clearly at odds with the evidence.

                                                                            22          Relators assert that Owner and Non-Owner Defendants “dispute that [WPM] signed and

                                                                            23   submitted HAP Contracts.” (ECF 415 at 4 (emphasis added) citing ECF 388-1 at 8:23-27.) But

                                                                            24   Owner and Non-Owner Defendants have not disputed, and do not intend to dispute, that fact. Rather,

                                                                            25   the document Relators cite as evidence that Owner and Non-Owner Defendants intend to go back

                                                                            26   on the prior stipulation states: “Plaintiffs will necessarily need to put on evidence regarding the

                                                                            27   property owners themselves, which are the entities that actually made the certifications to the PHAs

                                                                            28   as parties to the HAP Contracts.” (ECF 388-1 at 8:23-27 (emphasis added) citing Sixth Amended

                                                                                                                                   4
                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 7 of 8


                                                                             1   Complaint, Exhibit E, at 82 (showing Logan Park Apartments as “Owner” signed the HAP Contract
                                                                             2   for Plaintiff Roy Huskey).) That observation is not remotely at odds with the fact that WPM signed
                                                                             3   and submitted HAP Contracts, as discussed below.
                                                                             4          Though WPM signed HAP Contracts on behalf of property owners, WPM does not own any
                                                                             5   of the property at issue and is not a party to any HAP Contract. By law, only property owners can
                                                                             6   be parties to HAP Contracts. See e.g., SAC, ECF 331 at 82, Exhibit E (Example HAP Contract); 24
                                                                             7   C.F.R. § 982.456(c); see also, Reyes-Garay v. Integrand Assur. Co., 818 F.Supp.2d 414, 432
                                                                             8   (D.P.R. 2011). In accordance with this law, on its face, each HAP Contract is between the applicable
                                                                             9   property owner and the applicable PHA. (See id.) Thus, WPM was not, and could not have been, a
                                                                            10   party to any HAP Contract. That WPM signed HAP Contracts on behalf of the property owners who
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                                                                            11   were parties to those contracts does not make WPM a party to those contracts. Relators do not, and
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                                                                            12   cannot, point to any statement by Defendants that is in any way contrary to the argument and
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                                                                            13   evidence that Relators are really trying to preclude—that Relators must address the acts, omissions,
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                                                                            14   and knowledge of “the property owners, which are the entities that actually made the certifications
                                                                            15   to the PHAs as parties to the HAP Contracts.” (ECF 388-1 at 8:23-27.) Here, Defendants do not
                                                                            16   intend to contradict the statement to which Relators point. Instead, Relators’ “real dispute is over
                                                                            17   the substantive ramifications of these admissions,” and the Court should decline Relators’ invitation
                                                                            18   “to turn the procedural motion into a summary judgment.” DCR Marketing Inc., 2022 WL
                                                                            19   16895117, at *1 (holding that defendant could not contradict admissions in its answer and declining
                                                                            20   to address the substantive ramifications of the admitted fact).
                                                                            21   //
                                                                            22   //
                                                                            23   //
                                                                            24   //
                                                                            25   //
                                                                            26   //
                                                                            27

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                                                                                               OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
                                                                                 Case 2:15-cv-00799-KJM-DB Document 452 Filed 06/21/24 Page 8 of 8


                                                                             1   Dated: June 21, 2024                        ARNALL GOLDEN GREGORY LLP
                                                                             2

                                                                             3                                               By: /s/ Richard T. Collins
                                                                                                                                 Richard T. Collins
                                                                             4                                                   Attorneys for Defendants:
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                                                                                                                                   APARTMENT HOLDINGS, LLC;
                                                                             8                                                     COURTYARD AT CENTRAL PARK
                                                                                                                                   APARTMENTS, LLC; CREEKSIDE
                                                                             9                                                     HOLDINGS, LTD; HERITAGE PARK
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                                                                                                                                   ADVANTAGE GROUP, LLC; WASATCH
                                                                            12                                                     PREMIER PROPERTIES, LLC; WASATCH
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                                                                            13                                                     HOLDINGS, LLC; WASATCH POOL
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                                                                                                                                   HOLDINGS III, LLC
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                                                                                            OWNER AND NON-OWNER DEFENDANTS’ OPPOSITION TO RELATORS’ MOTION IN LIMINE NO. 2
